                                    Case 4:19-cr-00275-LPR Document 51 Filed 09/29/21 Page 1 of 6
!IC• 2,,513 (R,·v. \J<J.'\O)   foJg111c11t in a Criminal Case
                               Sheet I



                                                    UNf'TED STA'rES DISTRICT COURT
                                                                      Eastern District of Arkansas
                                                                                       )                                                                     DEPCLERK
                   UNITED STATES OF AMERICA
                                                                                       )
                                                                                            JUDGMENT IN A CRIMINAL CASE
                                            V.                                         )
                               GARY DONALD KIDD                                        )
                                                                                            Case Number: 4:19-CR-00275-01 LPR
                                                                                       )
                                                                                       )    USM Number: 32963-009
                                                                                       )
                                                                                             Omar F. Greene II (appointed)
                                                                                            DeCc11d,111t 's :\11orncy
THE DEF.ENDANT:
� pleaded guilty to count(s)                     1 qfJ�e �ype��_(!lging_ Information
D pleaded nolo contenclere to count(s)
  which was accepted by the court.
D was found guilty on count(s)                                                                    -----• • • •HH••• •• .. •••• •-••H-•ON,U>oHhH,HoO•-HO > ________



  after <1 plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                            Nati, re of Offense                                                           Offense Ended
18   u.s.c. § 922(g)(1)                    Felon in Possession of a Firearm, a Class C Felony                             4/11/2018                  1s




       Tile ddc:ndant is sentenced as provided in µages 2 tlirough                 __6__ of th is judgment. The sentence is imposed pursuant to
the Sentencing Reform ;\ct of 1984.
D Tile defendant has been found not guilty on count(s)
lt'.l Count(s)         1 of the Indictment                         !i1 is   Dare dismissed 011 the motion of the United States.

         It is ordered that the defendant must notify the United States c1ttorney fol' this district within 30 davs of m1v change of name, residence,
or mailing address unt ii all fines, restitution, costs, and special assessments imposed by this judgment are f111ly paid: If ordered to pav restitution,
the defendant must notify the cou1t and United States <1ttorney of material changes in economic circumstances.

                                                                                                                        9/24/2021




                                                                                               Lee P. Rudofsky, United States District Judge
                                                                                  Nam� and Tilk ul'.ludg.c




                                                                                  Daie
                             Case 4:19-cr-00275-LPR Document 51 Filed 09/29/21 Page 2 of 6
AO 24:iB il{cv. 09!19) Judgment in Criminal Ca,c
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                                                                                                     Judgmcm ......... P�gc -=2-   6
 DEFENDANT: GARY DONALD KIDD
 CASE NUMBER: 4:19-CR-00275-01 LPR

                                                               Il\1PRISONMENT
           The clefenclant is hereby committee! to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 SIXTY-NINE (69) MONTHS




      0 The court makes the following recommendations to the Bureau of Prisons:

           IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant be
           incarcerated in Millington, Tennessee, and that defendant participate in the RDAP program.


      Ill The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:

           D at                                     D a.111.    □   p.nl.    011

           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           D before 2 p.m. on

           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                    RETlJRN
 I have executed this judgment as follows:




           Defendant del.ivered on                                                      to

at                          _________ , with a certified copy of this judgment.



                                                                                                 UNITl':D STATES MARSHAL


                                                                            By . · ······-- ---··-------------------
                                                                                             DEl'UTY UNITED STATES M . \RSH:\L,
                              Case 4:19-cr-00275-LPR Document 51 Filed 09/29/21 Page 3 of 6
AO 245B (Rc:v.(J')/191   Jucl�mcm in a Criminal Case
                         Shc:cl 3 - SurcrviscJ Rdc;isc
                                                                                                          Jud�m.-:nr-Pa
                                                                                                             ...;       ee
                                                                                                                        0
                                                                                                                             --·····-·----   of
DEFENDANT: GARY DONALD KIDD
CASE NUMBER: 4:19-CR-00275-01 LPR
                                                          SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
    THREE (3) YEARS




                                                         .MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You 111ust refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days ofr.·elease from
      i111prisonment and at least two periodic drng tests thereafter. as determined by the court.
                 D The above drug testing condition is suspended. based on the court's determination that you
                    pose a low risk or future substance abuse. (check /lapplicablc:)
i.
0
        D You must make restitution in accordance with 18 U .S.C. §� 3663 and 3663A or any other statute authorizing a sentence or·
            restitution. (check i(app/icab/,,)
5.      ltf You must cooperate in the collection of DNA as directed by the probation officer. (check //'applicable)
6.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. s 20901, et seq.) as
            dil"ected by the probation officer. the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or ,vere convicted of a qualifying offense. (check !lapplic··ahlei
7.      D You must participate in an approved program for domestic violence. (check if applicable!

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                                    Case 4:19-cr-00275-LPR Document 51 Filed 09/29/21 Page 4 of 6
/\ C) 24 � B (Rev. 09/ 1 9 I   J uclgm�nl in a Cri minal Case
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                                                                                                              Judgmenl-Pngc             4        pf
D E F EN DANT: GARY DONALD K I D D
CA S E N U M B ER : 4: 1 9-C R-00275-0 1 L P R

                                                      STA N DARD CON D ITIONS OF SUPERVISJ ON
As part of y o u r su perv ised 1:e l ease, you m u s t com ply w i th t h e fo l lowing s tandard con d i t i on s o f superv i s i on . These conditions are im posed
because they esta b l ish the bas ic expectations for your behavior wh i l e on s u perv i s ion and identify the m i n imum tools needed by probation
o fficers to keep i n fo rmed, report to the court about. and bring about i m p rovements in your cond uct mid condition.

 I.    You m u st report to the probation office in the federal j udicial cl istricr where you are authorized to res i de w ith in 72 hours of you r
       release from imprisonment. u n l ess the probation officer instructs you t o report t o a d i fferent probation office or 1,vith in a different time
       frame.
')
       A fter i n itially reporting to the probation office, you w i i I receive i n strucrions from the court or the probation officer about how and
       when you m u st report to the probation officer, and you must report to the probation officer as instructed.
3.     You m u st not know ingly leave the federal j ud i c i a l district where you are authorized to res ide w i t h out fi rst getting perm ission from the
       cou1t or the p robat ion officer.
4.     You m ust answer truth fu l ly the questions asked by yo u r pro bation o fficer.
5.     Y o u must l i ve ,1t a p l ace approved by th e pro bat ion officer. I f you p l an to change where you l i ve or anyth ing abo ut your l i v i ng
       arrangements (such as the people you l i ve w i th), you m ust notitY the probation officer at least 1 0 days before the change. I f not i fy ing
       the probation officer in advance is not possible due to u n anticipated c ircumstances. you must not i fy the probation officer within 72
       hours of becom ing aware of a change or expected change.
6.     You m ust a l low the probation officer to visit you at any t i me at your home or e lsewhere, and you m ust perm it the probation officer to
       take any i tems proh i b i ted by the cond itions of your supervision that he or she observes in plain view.
7.     You m ust work fu l I time (at least 30 hours per week) at a lavv fu l type of employment, u n l ess the probation officer excuses you from
       doing so. If you do not have fu l l -time employment you m u s t try to fi nd lu l l -time e m p l oyment, u n l ess the probation officer excuses
       you from doi n g so. I f you plan to change where you work or anyth ing abou t your work (such as your position or your job
       respon s i b i l ities), you m ust noti fy the probation officer at leas t 1 0 days be fo re the change. I f n o t i fy i ng the prnbation officer at least I 0
       days i n advance i s not pos s i b l e clue to unant i c i pated circ u m stances. you m ust not i fy the probat ion o fficer w ith in 72 hours of
       beco m i n g awme of a change or expected change.
8.     You m us t not com m u n i cate or i n t e ract w ith someone you k n ow is engaged i n crim inal act i v ity. If you kn ow someone has been
       con v i cted o f a felony, you m u st not know ingly commun icate or interact with that person without tirst gett i n g the permission o f the
       probation officer.                                                                                                f
9.     If you are arrested o r questioned by a law en forcement officer, you m ust noti ty the probation of icer within 72 hours.
1 0.   You m ust not own. possess, or have access t<:> a firearm. am m u n ition. destructive dev ice, or dangerous weapon (i.e., anyth ing that was
       des igned, or was mod i fied for, the s pec i fi c purp()Se of causing bod i ly i njury or death to another person such as nunchakus or tasers).
1 1.   You must not act or make any agreement w ith a law enforcement agency to act as a confidentia l h u man source or informant without
       first get t i n g the perm iss ion of the court.
1 2.   If the probation officer determ ines that you pose a risk to anoth er person ( i n c l uding an organ izat ion), the probation o fficer may
       req u i re you to noti fy th e person about the risk a n d you m ust comply w i th that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
1 3.   You m u s t fo l low the i n structions of the probation officer re lated to the con d i t ions of superv is ion.



U.S. Probation Office U se Only
A U . S . probation officer has instructed me on the cond itions spec i fied by the court and has pro v i ded me w i th a written copy of th i s
j udgment containing these conditions. For further information regard ing these conditions. see Overview ()j'frobatio11 and Supervised ·
Release Co11di1ions, ava i lab le at: www . u scourts.gov.


Defendant's S ignature
                             Case 4:19-cr-00275-LPR Document 51 Filed 09/29/21 Page 5 of 6
AO 2-158 (Rev. 09/19)   Judgment in a Criminal Cas.:
                        Sheet 5 - Criminal 1\,fonciary Penalties
                                                                                                           .Judgment - Page       5     or       6
 DEFENDANT: GARY DONALD KIDD
 CASE NUMBER: 4:19-CR-00275-01 LPR
                                                   CRIMINAL MONETARY PENALTIES
      The defendant rnust pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                    Restitution                  Fine               AV AA Assessment''             JVTA Assessment''"�
TOTALS             $ 100.00                    s                            $                                                 s

 D The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case (AO 2-15CJ will be
                                                                    -----
   entered after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      lfthe defendant makes a partial pavment. each pavee shall receive an approximately proportioned payment, unless specified otherwise in
      the prioritv order or percentage pa\·ment column below. However, pursuant to 18 U.S.C. § J664(i). all nonfederal victims must be paid
      before the"United States is paid.

 Name of Pavec                                                      Total Loss"'"''*              Restitution Ordered         Prioritv or Percentage




TOTALS                                 s                             0.00                      0.00
                                                                                       ----------

D      Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than S2.500, unless the restitution or fine is paid in full before the
      fi fl:eenth day after the elate of the judgment, pursuant to 18 U .S.C. § 3612((). Al I of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default. pursuant Lo 18 U.S.C. § 36 l 2(g).

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the                 D fine       D restitution.

       D the interest requirement for the              D     fine    D restitution is modified as follows:

':' Amy� Vit:ky, �rnj And_'( c;:hilg l\m10 °raphy Vi c_:tim Assistance Act of20 l 8, Pub. L. No. 115-299.
''* Justice tor V 1ct1111s ot l raf11ck1ng Act of' 20 I :i, Pub. L. No. I 14-22.
*** Findings for the total amount ot' losses are ret\uired under Chapters 109A, 110, I JOA, and 113A of Title 18 for offenses committed on
or after September 1 J, 1994. but before April 23. 996.
                              Case 4:19-cr-00275-LPR Document 51 Filed 09/29/21 Page 6 of 6
,\u 245H (Rev. (/9/19)   JudiLmc111 in a Cri111inal Case
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                                                                                                                                   .J udgment - Pag�     6       0f     __,_,,_6 - ----
 DEF ENDANT: GARY DONALD KIDD
 CASE NUMBER: 4:19-CR-00275-01 LPR


                                                                          SCHEDULE OF PAYMENTS

 Having assessed rile defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     !ill   Lump sum payment of S                   100.00                      due immediately. balance due

              □     not later than -    ········-·--··----··-··--·---- . or
              □     in acrnrclancc with D C, D D,                    D E. 01·                     D F below; or

 B     D      Payment to begin immediately (may be combined with                               DC,           D D,or        D F below); or

C      D      Payment in equal                                       re.g.. week/I', 11w11thfi,, qw.1rrerh) installments of $                   over a period of
                           (e.g.,    1110111/i.1·   ur _Fe<1r.1).   [() commence                           (e.g. 30 or 6/J ,lavs) after ihe date of this judgment: or

 D     D      Payment in equal                                       (e.g. 1Feeklv, 1110111/dv, q11w·1er!J ) installments of $ ____ over a period of
                            (e.g.. momhs 01· yearsi,                to commence _____ (e.g., 3/J or 60 day.1) after release from imprisonment to a
              term of supervision; or

 E     D      Payment during the term of supervised release will commence within _____ (e.g.. 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's abilit·y to p<1y at that time; or

 F     D      Special instructions regarding the payment of crirn inal monetary penalties:




Un less _the CO_L:ti ha? expressly ordered �therwise. ifthisjudg!nent imposes imprisonment, payment of crimin_!.ll monetary penal_tie� is due during
the penocl ol 11npr1sonment. All crn1111rnl rnonewrv penalties. except ihose pavments
                                                                                   -      made throul!.h
                                                                                                     - the I-ederal Bureau of- Pnsons' Inmate
Financial Responsibi I ity Program, are made to the 'clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D      Joint and Several

       Case Number
       Defendant and Co-De fendant Names                                                                      Joint and Several                  Corresponding Pavee.
       / inc/11di11g deJindon! n11mbe1)                                     Total Amount                           Amount                            if appropriate'




D      The defendant shall pay the cost of prosecution,

D      The defendant shall pay the following court cost(s):

D      The defendant. shall fol'i'eit the de fendant's interest in the following property to the United Stares:



Payments shall be applied in the follow in!! order: ( l) assessment. (2) restitution principal, (3) restitution interest, (4) A VAA assessment.
                                                                                                                                    _ of
(5) fine principal, (6) fine interest, (7) co1r11mmity restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost
proscrntio11 and cou1t costs.                                                                                                            ·   . ·
